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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 2:18-CV-14171-ROSENBERG/MAYNARD

  SUSANA ISAIAS,

                 Plaintiff,

  v.

  MARTIN COUNTY,

              Defendant.
   _________________________/

                     ORDER ON MOTION FOR SUMMARY JUDGMENT

         THIS MATTER is before the Court on Defendant Martin County’s Motion for Summary

  Judgment (the “Motion”). Mot., DE 37. Defendant filed its Motion on December 6, 2018, along

  with a Statement of Facts in support of the Motion. Def. SOF, DE 36. Plaintiff’s response to the

  Motion was therefore due on December 20, 2018. See DE 37. However, Plaintiff’s attorney

  withdrew during the briefing period. See Mot. To Withdraw, DE 38; Order on Withdrawal, DE 40.

  As a result, the Court extended the deadline three times for Plaintiff to respond to the Motion. See

  DE 40, DE 45, DE 50. Plaintiff was afforded the opportunity to retain new counsel, see DE 40,

  DE 45, and Plaintiff’s new counsel appeared on January 30, 2019, DE 48. Plaintiff, represented by

  counsel, filed her Response to the Motion on February 22, 2019, along with her responsive

  Statement of Facts. See Pl. Resp., DE 53; Pl. SOF, DE 52. Defendant replied in support of its

  Motion at DE 54. After some delay, the Motion is now ripe for review. The Court also discussed

  some aspects of the Motion for Summary Judgment at the status conference held on April 17,

  2019. The Court has reviewed the briefing outlined above and the record and is otherwise fully

  advised in the premises.
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          I.       BACKGROUND1

          Plaintiff, Susana Isaias, began working for Defendant Martin County as a librarian in

  approximately November, 2002. Compl., DE 21, ¶ 14. Since 2002, she has worked at the Elizabeth

  Lahti Library in Indiantown, Florida. See Def. SOF, DE 36, ¶ 1. On January 18, 2017, Plaintiff

  was informed she would be transferred to the Hoke Library branch in Jensen Beach, Florida. Id.

  Plaintiff immediately raised concerns that she would not be able to afford to make this transfer.

  See id. ¶ 2–4. Over the next few days, Plaintiff resisted the transfer to the Hoke Library, for a

  variety of reasons, including financial difficulties, transportation obstacles, and injuries to her right

  foot, with which she would use to drive a car. See id. ¶ 2–11. One week after being informed she

  would be transferred, Plaintiff did not appear for work on January 25, 2017 and was terminated.

  See id. ¶ 12–15.

          Based on these events, Plaintiff filed her Complaint on May 7, 2018. Compl., DE 1.

  Plaintiff amended her complaint on July 26, 2018, alleging violations of the Family Medical Leave

  Act (FMLA), Americans with Disabilities Act (ADA), and Florida Civil Rights Act (FCRA). Am.

  Compl., DE 21. Count I (“FMLA Interference”), Count III (“Termination because of Disability

  & Handicap in violation of the FCRA”), Count IV (“Denial of Reasonable Accommodation in

  Violation of the FCRA”), Count V (“Termination because of Disability & Handicap in violation

  of the ADA-AA”), and Count VI (“Denial of Reasonable Accommodation in Violation of the

  ADA-AA”) were dismissed following the status conference on April 17, 2019, with agreement

  from both parties. See Order Dismissing Counts, DE 64. Following the dismissal of those counts,

  only Count II, for FMLA retaliation, remains operative. Accordingly, this Order only addresses

  Count II, Plaintiff’s FMLA retaliation claim against Defendant.


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   The facts stated herein are derived from Plaintiff’s Amended Complaint, DE 21, Defendant’s Statement of Facts,
  DE 36, and Plaintiff’s responsive Statement of Facts, DE 52, and all of the exhibits cited therein.

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         II.     SUMMARY JUDGMENT STANDARD

         Summary judgment is appropriate if “the movant shows that there is no genuine dispute as

  to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

  56(a). The existence of a factual dispute is not by itself sufficient grounds to defeat a motion for

  summary judgment; rather, “the requirement is that there be no genuine issue of material fact.”

  Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986). A dispute is genuine if “a

  reasonable trier of fact could return judgment for the non-moving party.” Miccosukee Tribe of

  Indians of Fla. v. United States, 516 F.3d 1235, 1243 (11th Cir. 2008) (citing Anderson, 477 U.S.

  at 247–48). A fact is material if “it would affect the outcome of the suit under the governing law.”

  Id. (citing Anderson, 477 U.S. at 247–48)

         In deciding a summary judgment motion, the Court views the facts in the light most

  favorable to the non-moving party and draws all reasonable inferences in that party’s favor.

  See Davis v. Williams, 451 F.3d 759, 763 (11th Cir. 2006). The Court does not weigh conflicting

  evidence. See Skop v. City of Atlanta, 485 F.3d 1130, 1140 (11th Cir. 2007). Thus, upon

  discovering a genuine dispute of material fact, the Court must deny summary judgment. See id.

         The moving party bears the initial burden of showing the absence of a genuine dispute of

  material fact. See Shiver v. Chertoff, 549 F.3d 1342, 1343 (11th Cir. 2008). Once the moving

  party satisfies this burden, “the nonmoving party ‘must do more than simply show that there is

  some metaphysical doubt as to the material facts.’” Ray v. Equifax Info. Servs., LLC, 327 F. App’x

  819, 825 (11th Cir. 2009) (quoting Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475

  U.S. 574, 586 (1986)). Instead, “[t]he non-moving party must make a sufficient showing on each

  essential element of the case for which he has the burden of proof.” Id. (citing Celotex Corp. v.

  Catrett, 477 U.S. 317, 322 (1986)). Accordingly, the non-moving party must produce evidence,



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  going beyond the pleadings, to show that a reasonable jury could find in favor of that party. See

  Shiver, 549 F.3d at 1343.

          III.    ANALYSIS

          The FMLA permits eligible employees with “the right to take up to 12 workweeks of

  unpaid leave annually for any one or more of several reasons, including ‘[b]ecause of a serious

  health condition that makes the employee unable to perform the functions of the position of such

  employee.’ 29 USC § 2612(a)(1)(D).” Hulbert v. St. Mary’s Health Care Sys., Inc., 439 F.3d 1286,

  1293 (11th Cir. 2006). An FMLA “retaliation claim asserts that an employer discriminated against

  an employee for engaging in FMLA protected activity.” Pecora v. ADP, LLC., 232 F. Supp. 3d

  1213, 1220 (M.D. Fla. 2017).

          To establish a retaliation claim under the FMLA when there is no direct evidence of

  retaliatory intent, a plaintiff must show that “(1) she engaged in a statutorily protected activity; (2)

  she suffered an adverse employment decision; and (3) the decision was causally related to a

  protected activity.” Pereda v. Brookdale Senior Living Communities, Inc., 666 F.3d 1269, 1275

  (11th Cir. 2012) (citations omitted); see also Vira v. Crowley Liner Serv., Inc., 723 F. App’x 888,

  892–93 (11th Cir. 2018). To prove a causal connection, a plaintiff must demonstrate that the

  “relevant decisionmaker was ‘aware of the protected conduct, and that the protected activity and

  the adverse actions were not wholly unrelated.’” Jones v. Gulf Coast Health Care of Del., LLC.,

  854 F.3d 1261, 1271 (11th Cir. 2017) (citations omitted). “Close temporal proximity between

  protected conduct and an adverse employment action is generally sufficient circumstantial

  evidence to create a genuine issue of material fact of a causal connection.” Id. at 1271–72.

  However, “in a retaliation case, when an employer contemplates an adverse employment action

  before an employee engages in protected activity, temporal proximity between the protected



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  activity and the subsequent adverse employment action does not suffice to show causation.” Drago

  v. Jenn, 453 F.3d 1301, 1308 (2006).

           Once the plaintiff establishes a prima facie case for FMLA retaliation, the burden shifts to

  the defendant to show a legitimate reason for the adverse employment action. See Strickland v.

  Water Works & Sewer Bd., 239 F.3d 1199, 1207 (11th Cir.2001) (applying the burden-shifting

  framework of McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973) to an FMLA claim).

  Defendant must put forth a “legitimate, non-retaliatory reason for terminating” the employee.

  Martin v. Brevard Cty. Pub. Schools, 543 F.3d 1261, 1268 (emphasis added); see also Hurlbert v.

  St. Mary’s Health Care Sys., Inc., 439 F.3d 1286, 1297 (11th 2006) (“If the plaintiff makes out a

  prima facie case, the burden then shifts to the defendant to articulate a legitimate reason for the

  adverse action.”) (emphasis added).

           If the defendant proffers a legitimate reason for its actions, the burden shifts back to the

  plaintiff to demonstrate that the proffered reason for the employment action was pretext for

  retaliation. Martin, 543 F.3d at 1268; see also Vira, 723 F. App’x at 892. To show pretext,

  “plaintiff must show both that the employer’s explanation was false and that discrimination was

  the real reason for his decision.” Vira, 723 F. App’x 888, 894 (citing Brooks v. Cty. Comm’n of

  Jefferson Cty., Ala., 446 F.3d 1160, 1163 (11th Cir. 2006)).

           Here, Defendant conceded that “[i]t is undisputed that Plaintiff engaged in statutorily

  protected activity and suffered an adverse employment action.” Def. Mot., DE 37, 15.2 As a result,


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   At the status conference on April 17, Defendant moved ore tenus to strike the quoted sentence from its Motion.
  Defendant’s request is denied.

  Defendant first filed its Motion for Summary Judgment in December, 2018. See DE 37. Plaintiff did not respond until
  February 22, 2019, due to the intervening withdrawal of Plaintiff’s counsel. See DE 40, DE 45, DE 47, DE 50, DE 53.
  When Plaintiff did respond, her response clearly stated that “Defendant does not dispute that Plaintiff established
  ‘protected conduct’ and ‘an adverse employment action’ (i.e., the discharge). They contest ‘causation.’” Pl. Resp., DE
  53, 5.


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  the Court proceeds to analyze whether Defendant’s decision to terminate Plaintiff was causally

  related to her exercise of her FMLA rights.

           A. Causality

           It is undisputed that Defendant first communicated with Plaintiff about her transfer on

  Wednesday, January 18, 2017. Def. SOF, DE 36, ¶ 1. Plaintiff immediately expressed concerns

  over the transfer and requested a meeting with her supervisors. See id. ¶¶ 2–4. Defendant’s

  employee informed Plaintiff on Thursday, January 19 that Plaintiff had an obligation to report to

  her newly assigned work location on the following Tuesday. See id. ¶ 5. On Friday, January 20,

  Plaintiff was informed that “failure to report to work as directed would be considered an

  unauthorized absence.” Id. ¶ 6. Plaintiff again communicated to Defendant that she would not

  agree to her transfer on Sunday, January 22. Id. ¶ 7. On Monday, January 23, Defendant’s

  employee again reminded Plaintiff that she was expected to report to her new work location. Id. ¶

  10. That same day, Plaintiff communicated that she had been diagnosed with an injury to her foot

  and presented a prescription for an MRI. Id. ¶ 11. Defendant’s employee responded that she would

  provide FMLA certification forms at their scheduled meeting the following day. Id. ¶ 12. On



  At the status conference, Defendant indicated that its concession sentence was an error in its Motion. The request to
  amend the Motion, in light of this “error,” is untimely. Defendant has been on notice that its Motion contained this
  “error” for more than seven weeks (since Plaintiff filed her Response). In spite of this notice, Defendant did not raise
  this error with the Court independently. Instead, at the status conference, it was the Court’s questioning that prompted
  Defendant to raise this issue. At this time, the deadline for motions has long passed (the deadline was March 28) and
  trial is imminent (scheduled for May 28). Any amendment to the Motion at this time would be prejudicial to Plaintiff.
  Accordingly, the ore tenus Motion to Amend the Motion for Summary Judgment, made on the record at the April 17th
  status conference, is denied.

  Furthermore, the Court notes that the summary judgment standard places the burden on the moving party to prove it
  is entitled to summary judgment. See Brooks v. Blue Cross and Blue Shield of Fla., Inc., 116 F.3d 1364, 1369 (11th
  Cir. 1997). “The movant’s initial burden on a motion for summary judgment consists of a responsibility to inform the
  court of the basis for its motion.” Ocean’s 11 Bar & Grill, Inc. v. Indem. Ins. Corp. RRG, No. 11-61577-CIV, 2012
  WL 2675367, at *3 (S.D. Fla. July 6, 2012) (internal quotations omitted). As the moving party, it was Defendant’s
  burden to move for summary judgment on the grounds on which it believed it was entitled to summary judgment. It
  was also Defendant’s prerogative to concede to two elements of Plaintiff’s prima facie case, and it is not the Court’s
  responsibility to fix what Defendant now calls an error. The Court must rule on the arguments Defendant has actually
  made regarding FMLA retaliation. See id.

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  Tuesday, January 24, Plaintiff met with Defendant’s representatives, presented a copy of the MRI

  prescription, and was given FMLA application and certification forms. Id. ¶¶ 13–14. When

  Plaintiff did not appear for work the next day, Wednesday, January 25, she was immediately

  terminated. Id. ¶ 15.

         To summarize, Plaintiff was told she was being transferred on a Wednesday. See id. ¶ 1.

  Notwithstanding her financial and transportation concerns, she communicated that she was

  experiencing health issues the following Monday, see id. ¶ 10, she was provided FMLA

  certification forms on Tuesday, id. ¶ 12, and she was terminated on Wednesday, see id. ¶ 15.

         “To establish the causal connection element, a plaintiff need only show that the protected

  activity and the adverse action were not wholly unrelated. In order to show the two things were

  not entirely unrelated, the plaintiff must generally show that the decision maker was aware of the

  protected conduct at the time of the adverse employment action.” Brungart v. BellSouth

  Telecommunications, Inc., 231 F.3d 791, 799 (11th Cir. 2000) (internal quotations omitted). “The

  general rule is that close temporal proximity between the employee’s protected conduct and the

  adverse employment action is sufficient circumstantial evidence to create a genuine issue of

  material fact of a causal connection.” Id.

         The extremely close temporal proximity between Plaintiff’s communication with her

  employer that she was experiencing health problems (which prompted Defendant’s representative

  to provide Plaintiff with FMLA forms) and her termination is sufficient circumstantial evidence to

  demonstrate causality.

         Defendant argues that it contemplated adverse action against Plaintiff before her need for

  FMLA leave arose, and cites Drago and Salem to support this proposition. This case is

  distinguishable on its facts from both Drago v. Jenne, 453 F.3d 1301 (11th Cir. 2006) and Salem



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  v. City of Port St. Lucie, Case No. 2:17-CV-14431, 2018 WL 5631305 (S.D. Fla. Oct. 31, 2018),

  as cited by Defendant. Both of the plaintiffs in those cases had been specifically warned for months

  that they faced potential demotion (in Drago) or termination (in Salem). In Drago, the plaintiff

  had been specifically told that he faced demotion for performance deficiencies nine months prior

  to his eventual demotion. 453 F.3d at 1303–05. The Eleventh Circuit concluded that the “record

  evidence is overwhelming that [the defendant] contemplated demoting him before he ever

  [engaged in statutorily protected activity].” Id. at 1308 (emphasis added). In Salem, the plaintiff

  had similarly been informed that his firearms certification, which is statutorily required to serve

  as a sworn police officer in the state of Florida, was set to lapse, three months prior to his eventual

  termination. 2018 WL 5631305 at *2.

         In contrast, the three instances in which Defendant directed Plaintiff to appear for work at

  her new work location occurred just days, not months, before she communicated her health status

  to Defendant. See Def. SOF, DE 36, ¶¶ 5–6, 8. Defendant’s directives to Plaintiff indicate that

  Defendant was committed to transferring Plaintiff from the Indiantown library to the Jensen Beach

  library, but Defendant does not necessarily indicate that her termination was contemplated in

  advance of her FMLA request. Accordingly, the Court concludes that Plaintiff has established the

  prima facie case for FMLA retaliation, based in part on Defendant’s concession on the first two

  elements of the prima facie case.

         The burden therefore shifts to Defendant to produce a legitimate, non-retaliatory reason for

  Plaintiff’s termination. Notably, Defendant does not explicitly provide such a non-retaliatory

  explanation in its initial Motion. See Def. Mot., DE 37. However, implicit in Defendant’s Motion

  is the argument that Plaintiff was terminated for not appearing at work in January, i.e., “job

  abandonment.” Def. SOF, DE 36, ¶ 15. Plaintiff expressly denies this was the reason for her



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  termination. Pl. SOF, DE 52, ¶ 15. Defendant also argues in its Reply brief that Plaintiff was

  insubordinate. Def. Reply, DE 54, 9.

         B. Pretext

         Assuming that Defendant has properly proffered a legitimate, non-retaliatory reason for

  Plaintiff’s termination, Plaintiff must “show both that the employer’s explanation was false and

  that discrimination was the real reason for his decision.” Vira v. Crowley Liner Serv., Inc., 723 F.

  App’x 888, 894 (11th Cir. 2018) (citations omitted). “[T]e employee must then show that the

  employer’s proffered reason was pretextual by presenting evidence sufficient to permit a

  reasonable factfinder to conclude that the reasons given by the employer were not the real reasons

  for the adverse employment decision.” Martin v. Brevard Cty. Public Schools, 543 F.3d 1261,

  1268 (11th Cir. 2008).

         Here, Plaintiff has raised sufficient doubt as to whether the proffered explanations for

  Plaintiff’s termination were false and pretextual. First, the close temporal proximity of Plaintiff’s

  disclosure of her medical condition and her ultimate termination could lead a reasonable juror to

  conclude that she was terminated because she had engaged in statutorily protected activity, as

  conceded by Defendant. Second, Plaintiff’s failure to appear for work would not have qualified as

  a resignation under Defendant’s Human Resources Policy, which states that a period of three

  consecutive days of unauthorized absences will be considered a resignation. Pl. Resp., DE 53, 8.

  This could lead a reasonable juror to conclude that Defendant’s job-abandonment rationale was

  pretext for FMLA retaliation. Third, the fact that Defendant did call in to her employer to ask how

  to request a day off because her medical condition was worsening and she needed an MRI could

  lead a reasonable juror to conclude that she was terminated that day because she had engaged in

  statutorily protected activity. See Pl. SOF, DE 52, ¶ 48. Finally, Plaintiff points out that a



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   disciplinary memorandum had been circulated by Plaintiff’s supervisors before she did not appear

   for work on Wednesday, January 25. Plaintiff claims this fact indicates that the adverse

   employment action resulted from her allegedly FMLA-qualifying condition, not from her non-

   appearance at work. Pl. Resp., DE 53, 9; Pl. SOF, DE 52, ¶ 48. Defendant argues that the fact that

   it had not yet decided what disciplinary action would be taken in the memorandum indicates the

   opposite conclusion – that Defendant reacted to Plaintiff’s non-appearance on January 25, not her

   alleged FMLA qualification. Def. Reply, DE 54, 9. At summary judgment, “[i]f reasonable minds

   could differ on the inferences arising from undisputed facts, then a court should deny summary

   judgment.” Allen v. Tyson Foods, Inc., 121 F.3d 642, 646 (11th Cir. 1997). Reasonable minds

   could differ on the interpretation of the drafting of the disciplinary memorandum, so Plaintiff has

   introduced evidence which calls Defendant’s proffered explanations into question.

          Hence, Plaintiff has cast sufficient doubt upon the legitimacy of Defendant’s proffered

   explanations for terminating Plaintiff such that a reasonable jury could conclude Defendant’s

   proffered explanations were pretextual. In reaching this conclusion, the Court notes that it does

   “not sit as a ‘super-personnel department,’ and it is not [the Court’s] role to second-guess the

   wisdom of an employer’s business decisions.” Alvarez v. Royal Atl. Developers, Inc., 610 F.3d

   1253, 1266 (11th Cir. 2010). However, “[s]ummary judgment is a lethal weapon, and courts must

   be mindful of its aims and targets and beware of overkill in its use.” Brunswick Corp. v. Vineberg,

   370 F.2d 605, 612 (5th Cir.1967). Here, the Court finds that there is sufficient doubt regarding

   Defendant’s proffered explanation for terminating Plaintiff such that Plaintiff’s FMLA retaliation

   claim should survive Defendant’s summary judgment motion.




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           For the reasons stated herein, it is hereby ORDERED AND ADJUDGED that Defendant’s

   Motion for Summary Judgment, DE 37, on Count II of the Amended Complaint for FMLA

   retaliation is DENIED.

           DONE AND ORDERED in Chambers, West Palm Beach, Florida, this 19th day of April,

   2018.

                                                    _______________________________
                                                    ROBIN L. ROSENBERG
                                                    UNITED STATES DISTRICT JUDGE
   Copies furnished to Counsel of Record




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